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1    GILA COUNTY ATTORNEY’S OFFICE
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3
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     Phone (928) 402-8630
5    jalbo@gilacountyaz.gov
     Attorneys for Gila County
6
                          IN THE UNITED STATES DISTRICT COURT
7
                               FOR THE DISTRICT OF ARIZONA
8
     Strong Communities Foundation of Arizona          Case No.: 24-CV-02030-PHX-SMB
9    Inc., and Yvonne Cahill,
10                                                     GILA COUNTY DEFENDANTS'
           Plaintiff,                                  JOINDER IN THE RULE 26(F) JOINT
11   v.                                                CASE MANAGEMENT REPORT
12
     STEPHEN RICHER in his official capacity as
13   Maricopa County Recorder, and MARICOPA
     COUNTY; LARRY NOBLE, in his official
14   capacity as Apache County Recorder, and
     APACHE COUNTY; DAVID W. STEVENS,
15   in his official capacity as Cochise County
     Recorder, and COCHISE COUNTY; PATTY
16
     HANSEN, in her official capacity as Coconino
17   County Recorder, and COCONINO
     COUNTY; SADIE JO BINGHAM, in her
18   official capacity as Gila County Recorder, and
     GILA COUNTY; POLLY MERRIMAN, in
19   her official capacity as Graham County
     Recorder, and GRAHAM COUNTY;
20
     SHARIE MILHEIRO, in her official capacity
21   as Greenlee County Recorder, and
     GREENLEE COUNTY; RICHARD GARCIA,
22   in his official capacity as La Paz County
     Recorder, and LA PAZ COUNTY;
23   LYDIA DURST, in her official capacity as
     Mohave County Recorder, and MOHAVE
24
     COUNTY; MICHAEL SAMPLE, in his
25   official capacity as Navajo County Recorder,
     and NAVAJO COUNTY; GABRIELLA
26

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1    CAZARES-KELLY, in her official capacity as
     Pima County Recorder, and PIMA COUNTY;
2    DANA LEWIS, in her official capacity as
     Pinal County Recorder, and PINAL COUNTY;
3    ANITA MORENO, in her official capacity as
     Santa Cruz County Recorder, and SANTA
4    CRUZ COUNTY; MICHELLE BURCHILL,
     in her official capacity as Yavapai County
5    Recorder, and YAVAPAI COUNTY;
     RICHARD COLWELL, in his official capacity
6    as Yuma County Recorder, and YUMA
     COUNTY;
7
          Defendant.
8

9
           Gila County, by and through undersigned counsel, hereby gives notice of Gila
10

11   County joinders in the Rule 26(F) Joint Case Management Report.

12

13                      Respectfully submitted September 30, 2024.
14
                                            GILA COUNTY ATTORNEY
15                                          BRADLEY D. BEAUCHAMP

16
                                            By: /s/ Joe A. Albo
17                                             Joe A. Albo
                                               Deputy County Attorney
18
                                               Civil Bureau Chief
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         Case 2:24-cv-02030-KML Document 65 Filed 10/01/24 Page 3 of 3




1                                      CERTIFICATE OF SERVICE

2      I hereby certify that on September 30, 2024, I electronically filed the foregoing with the
3
     Clerk of the Court for the United States District Court for the District of Arizona using the
4
     CM/ECF filing system. Counsel for all prior Defendants, as well as, Plaintiffs, who have
5
     appeared and are registered CM/ECF users will be served by the CM/ECRF system pursuant
6
     to the notice of electronic filing, with courtesy copies emailed as follows:
7

8

9      Honorable Susan Brnovich
       District Court Judge
10     Brnovich_chambers@azd.uscourts.gov
11
                                                           /s/Joe A. Albo
12                                                         Joe A. Albo
                                                           Deputy County Attorney
13                                                         Gila County Attorney’s Office
14
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